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                           UNITED S TATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



In the Matter of;
                                            )1              CaseNo-
                                                            Case No.: 5^ ^               ^
United States of America                    )
          V.                                )
Cody L. Prater                              )               Magistrate Judge
317 South Locust Street                     )
McArthur, Ohio 45651                        )


                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I. f'dward A. La Vigne (Your Affiant), a Special Agent (SA) with the iiomeland Security
Investigations(HSI), being first duly sworn, hereby depose and state as follows:

                                      INTRODUCTION


   1. 1, Special Agent Edward A. La Vigne (your affiant), make this affidavit in support of a
      criminal complaint to arrest for violations of Title 18 United Slates §§ 2252 and 2252A-
      thc transportation, receipt, and possession of child pornography. Since this affidavit is
      being submitted for the limited purpose ofsecuring a criminal complaint and arrest warrant,
      your affiant did not include each fact known concerning this investigation. Your affiant did
      not withhold any information or evidence that would negate probable cause. Your affiant
      set foilh only the facts that are believed to be necessary to establish probable cause that
      Joshua E. Bock (BOCK.)committed the violations listed above.

   2. I am a Special Agent (SA) with Homeland Security Investigations (IISI) and have been
      since October 2010. I am currently assigned to the National Security - Child l-ixploitation
      Group, Assistant Special Agent in Charge (ASAC) Columbus, ON. 1 am primarily
      responsible for investigating internet crimes against children, including child pornography
      offenses and the online exploitation of children, as well as victim identification. During my
      career as a SA, I have participated in various investigations involving computer-related
      offenses and have executed numerous search warrants, including those involving searches
      and seizures of computers, digital media, software, and electronically stored information.
      I have worked with multiple international law enforcement agencies around the world,
      focusing on cyber-crimes, transnational narcotics and human smuggling. 1 have also
      assi,stcd on various cases and violations, ranging from violent crimes against children and
      human trafficking, bulk cash smuggling, and labor trafficking. As part of my duties as a
      Special Agent. 1 investigate criminal violations relating to child c.xploitation and child
      pornography violations, including the illegal production, distribution, transmission,
      receipt, and possession of child pornography, in violation of 18 U.S.C. §§ 2251. 2252, and
      2252A. 1 have reviewed numerous examples of child pornography (as defined in 18 U.S.C.
      § 2256) in all forms of media, including computer media.
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     3. Prior to joining HSI, I spent seven years working as police officer for the United States
         Capitol Police (USCP), my duties varied from criminal patrol, investigating complaints,
         felony crimes, conducting counter-intelligence and anti-terrorism operations, traffic crash
         investigations, the protection of U.S. Senators, and Representatives as well as foreign
         dignitaries, and investigating threats against those individuals.

                                            PROBABLE CAUSE


     4. In June 2020, Homeland Security Investigations (HSI) initiated an investigation of Cody L.
        PRATER as a result of information regarding individuals who were present in chat groups
        that are dedicated to child pornography on an internet-based chat application referred to
         here as "Application A.".' An undercover HSI agent (the "UC") maintains a presence on
         Application A.

     5. The information initially obtained by HSI, revealed that on March 29, 2024, an individual
         utilizing the IP address IP address 162.154.160.66 had clicked on a link that was operated
         by HSI. The link, titled "Pthc_4yo_twins_anal." had been posted in a group that was
         dedicated to the exchange of child sexual abuse material by the UC. The link, when an
         Internet user voluntarily clicks on it, directed that user to an HSI-controlled website. Then,
         in accordance with the ordinary operation of an internet website,the HSI website received
         and stored certain non-content information that the user's computer transmits to them.

     6. A query ofan open-source online database revealed that IP address 162.154.160.66, which
        was used on March 29,2024 to access the link to the HSI website, was registered to Charter
         Communications.

     7. On April 22, 2024, a subpoena return from Charter Communications was obtained for
         information on the customer to whom the IP address 162.154.160.66 described above was
         assigned at the time and date that that IP address accessed the link to the HSI website.
         Specifically, return results identified the following subscriber information:

                  Account Holder:                     Cody PRATER
                  Account Service Address:           317 S. Locust Ave., McArthur, OH 45651

     8. Records checks as of June 1, 2024 conducted through the Ohio Bureau of Motor Vehicles
       (OBMV)indicate Cody Prater resided at 317 S. Locust Ave., McArthur, OH 45651.

     9. On or about July 2,2024,law enforcement used a government issued Apple smartphone to
        scan for Wi-Fi networks near the residence of PRATER. The scan displayed various Wi-

'The name of Application A,as well as other information about the undercover operation, is known to law
enforeement but anonymized in this affidavit to proteet operational security. Application A remains active and
disclosure of the name ofthe application would potentially alert its users to the fact that law enforcement action is
being taken against users ofthe application,thereby provoking users to notify other users of law enforcement action,
flee, and/or destroy evidence. Accordingly,to protect the confidentiality and integrity ofthe ongoing investigation
involved in this matter, specific names and other identifying factors have been replaced with generic terms and the
application will be identified herein as "Applieation A.
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    Fi networks and all the networks observed were secured networks. A secured network
    requires an individual to have a password and or an encryption key to obtain access to the
    secured network.

 10. Additional research revealed that PRATER had been convicted in Athens County, Ohio
    Court ofCommon Pleas on or about July 23,2019 for Pandering Sexually Oriented Matter
    Involving Minors or Impaired Persons in violation of Ohio Revised Code (ORC)
    §2907.322A1, a felony in the second degree, under case number 18CR0184. PRATER
    was sentenced to four years incarceration.

 11. On or about July 9, 2024, your affiant obtained a federal search warrant for the person of
    PRATER as well as his residence located at 317 S. Locust St., McArthur OH 45651. The
    warrant authorized the seizure of any and all computers and digital media devices located
    thereon or therein. The warrant was executed on or about July 11, 2024. PRATER was
    present on scene and in sum, approximate 17 electronic devices were seized to include
    cellular phones, laptop and desk top computers, as well as external thumb drives, and
    miscellaneous documents.

 12. The items seized also included a blue in color "Tails" thumb drive which was seized from
    PRATER'S bedroom. The "Tails" operating system is known by law enforcement to be
    designed to force all user connections to go through the Tor browser and block any non-
    anonymous connections. When an external device containing the TAILS system is
    connected to a computer and utilized to access the internet, no traces ofthe internet activity
    conducted will remain on the computer or external device. Your affiant knows that a
    "Tails" drive is transferrable, making it highly portable for use on different computers
    without leaving evidence of a user's activities.

 13."Tails" has an option for encrypted persistent storage where a user can save documents,
    files, photographs, and videos securely on the USB drive. Users often utilize strong
    encrypted passwords on the "Tails" drive to prevent unwanted access by any subject that
    may come into possession of the drive without the owner's password. Often users of
    "Tails" drives will write down or save the password for their "Tails" application in a
    separate computer file folder, notebook, index card, or on their cellular phones. If the
    password is lost or forgotten by the user, they will no longer be able to access the data
    they're storing on their "Tails" drive.

 14. On or about November 19, 2024, after months of processing the forensics on the devices
    seized, law enforcement was able to access the blue "Tails" thumb drive seized from
    PRATER'S bedroom. The device was able to be accessed by decoding the drives password
    utilizing a list of passwords PRATER had written down on various documents,documents
    which were also seized during the search warrant execution at PRATER's residence. SA
    total of nine videos of male subjects engaged in sex acts with infants and adults were
    recovered. The following is an example ofthe content found on PRATER's device:

        a. One video, titled "46FT" which was approximately 25 seconds in length, depicted
           an infant child, laying on their stomach, with their upper body covered by a small
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                blanket. A male subjected was seen penetrating the infant while it is being held
                face down, screaming and crying. The male continues to pcnelralc the infant and
                then pulls his penis out of the infant to ejaculate onto the carpeted floor.

             b. One video, tilled "'4kY-r which was approximately 1:00 minute in length, depicted
                a toddler of indeterminate sex being held down on a bed between the legs of an
                adult male. The male was observed trying to insert his erect penis into the mouth
                of the toddler. The toddler continually turned its head while whimpering and
                struggled to move its mouth away from the male's penis.

             c. One video, titled "EjiVIEC' which was approximately .32 seconds in length, depicted
                a female infant child being sexually assaulted by an adult male. In the video, the
                infant was being held down on the male's lap as he inserts his erect penis into the
                infant's vagina. The infant can be heard screaming in the video.

             d. One video, titled '^Y27K" which was approximately 14 seconds in length, depicted
                an infant (sex indeterminate) placed on his/her back with an adult male straddling
                the child. The male continued to force his erect penis into the infant's mouth while
                the infant is heard crying as he/she struggles during the assault.

   15. Based upon the above infonnation, your affiant submits that there is probable cause to
       believe that Cody T. PRATfR has committed ofTcnscs in violation ofTitle 18 United States
       §§ 2252 and 2252A-thc distribution, transportation, receipt, and possc.ssion of child
       pornography. Therefore, your affiant respectfully requests this court issue a criminal
       complaint and arrest warrant.



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                                                                                Edward A.1.a■ Vignc
                                                                                              Vii
                                                                                    Special Agent
                                                                  Homeland Security Investigations



Sworn and subscri                 me this        day of December, 2024.




The Honor                               cavers

Magistrate
U.S. District                       n District of Ohio
                    ^D/STB\S
